Case 2:03-CV-02664-BBD-tmp Document 33 Filed 05/17/05 Page 1 of 2 Page|D 42

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

WILLIAM S. PRIDDY,
Plaintiff,
Civ. No. 03-2664-D[P

'V`S.

FEDERAL EXPRESS CORPORATION,
et al.,

v~./\._rv`_n~._¢-_r\_¢v`_r

Defendants.

 

AMENDED SCHEDULING ORDER

 

On May 16, 2005, the court held a telephonic conference with
counsel of record regarding the status of the case and the current
scheduling order. For good cause shown, the scheduling order is
amended as follows:

COMPLETING ALL DISCOVERY: June 17, 2005

FILING DISPOSITIVE MOTIONS: July 29, 2005

The dates previously set for the proposed joint pretrial
order, pretrial conference, and jury trial, shall remain the same.

IT IS SO ORDERED.
_______-_______--"

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TU M. PHAM
United States Magistrate Judge

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Date

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Honorable Bernice Donald
US DISTRICT COURT

